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8                            UNITED STATES DISTRICT COURT
9                           SOUTHERN DISTRICT OF CALIFORNIA
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11   SHERLYNN MONTENEGRO,                             Case No.: 23-cv-0564-BEN-DEB
12                             Plaintiff,
                                                      NOTICE AND ORDER SETTING
13   v.                                               EARLY NEUTRAL EVALUATION
                                                      CONFERENCE; RULE 26
14   HEALTHCARE REVENUE
                                                      COMPLIANCE; AND CASE
     RECOVERY GROUP, LLC, et al.,
15                                                    MANAGEMENT CONFERENCE
16                             Defendants.
17
18
19
20         Counsel and party representatives must appear for an Early Neutral Evaluation
21   Conference (“ENE”) in this case on May 31, 2023 at 9:30 a.m. before Magistrate Judge
22   Daniel E. Butcher. In the event the case does not settle during the ENE, the Court will hold
23   a Case Management Conference (“CMC”) pursuant to Fed. R. Civ. P. 16(b) immediately
24   following the conclusion of the ENE.
25         The following are mandatory guidelines for the parties preparing for the ENE and
26   CMC. Absent express permission obtained from this Court, counsel must timely comply
27   with the dates and deadlines herein.
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1          1.      Review of Chambers Rules: Counsel1 must refer to the Civil Local Rules,
2    the undersigned’s Chambers Rules for Civil Cases, as well as the Chambers Rules of the
3    assigned   District   Judge,   which   are   accessible   via   the   Court’s   website    at
4    www.casd.uscourts.gov.
5          2.      Purpose of the ENE: The purpose of the ENE is to permit an informal
6    discussion between the attorneys, parties, and the Magistrate Judge of every aspect of the
7    lawsuit in an effort to achieve an early resolution of the case. Counsel attending the ENE
8    are expected to have a command of the facts and applicable law. Counsel and the parties
9    must come prepared to engage in a detailed discussion of the merits of their respective
10   cases and engage in good faith settlement discussions. All discussions during the ENE
11   are informal, off the record, privileged and confidential. Counsel for any non-English
12   speaking party is responsible for arranging for the appearance of an interpreter at the
13   conference.
14         3.      Full Settlement Authority Is Required: Pursuant to Local Rule 16.1.c.1, all
15   parties, party representatives, including claims adjusters for insured parties, and the
16   principal attorney(s) responsible for the litigation must participate in the ENE.2 This
17   appearance must be made with full and unlimited authority to negotiate and enter into a
18   binding settlement.3 In the case of a corporate entity, an authorized representative of the
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20
     1
21         As used herein, references to “counsel” or “attorney(s)” include any party
     representing himself or herself.
22
     2
23         The attendance requirement includes parties that are indemnified by others. Any
     deviation from this Order requires prior Court approval.
24
     3
25         Full authority to settle means that the individuals at the ENE Conference are
     authorized to fully explore settlement options and to agree at that time to any settlement
26   terms acceptable to the parties. Heileman Brewing Co., Inc. v. Joseph Oat Corp., 871 F.2d
27   648, 653 (7th Cir. 1989). The person needs to have “unfettered discretion and authority”
     to change the settlement position of a party. Pitman v. Brinker Int’l, Inc., 216 F.R.D. 481,
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1    corporation who is not retained outside counsel must be present and must have
2    discretionary authority to commit the company to pay an amount up to the amount of the
3    plaintiff’s prayer (excluding punitive damage prayers). The purpose of this requirement is
4    to have representatives present who can settle the case during the course of the conference
5    without consulting a superior.
6          Counsel for a government entity is excused from this requirement if the government
7    attorney who participates in the ENE (1) has primary responsibility for handling the case;
8    and (2) may negotiate settlement offers that the attorney is willing to recommend to the
9    government official having ultimate settlement authority.
10         4.    Procedure for Zoom Videoconference Appearance: The Court will use its
11   Zoom4 video conferencing account to hold the ENE and CMC.5 Prior to the start of the
12
13
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16
     485-486 (D. Ariz. 2003). One of the purposes of requiring a person with unlimited
17   settlement authority to attend the conference is that the person’s view of the case may be
     altered during the face-to-face conference. Pitman, 216 F.R.D. at 486. Limited or sum
18
     certain authority is not adequate. Nick v. Morgan’s Foods, Inc., 270 F.3d 590, 595-597
19   (8th Cir. 2001).
20   4
            If you are unfamiliar with Zoom: Zoom is available on computers through a
21   download on the Zoom website (https://zoom.us/meetings) or on mobile devices through
     the installation of a free app. Joining a Zoom conference does not require creating a Zoom
22
     account, but it does require downloading the .exe file (if using a computer) or the app (if
23   using a mobile device). Participants are encouraged to create an account, install Zoom and
     familiarize themselves with Zoom in advance of the ENE. There is a cost-free option for
24
     creating a Zoom account. For help getting started with Zoom, visit:
25   https://support.zoom.us/hc/en-us/categories/200101697-Getting-Started.
26   5
            Counsel may request the ENE and CMC be converted to an in-person appearance
27   informally through a joint call or email to the Court’s chambers
     (efile_butcher@casd.uscourts.gov). Counsel must meet and confer prior to making such a
28   request.
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1    ENE, the Court will email counsel an invitation with the Zoom meeting hyperlink and
2    password to participate in the ENE.6
3          Each participant should plan to join the Zoom video conference at least five minutes
4    before the start of the ENE to ensure that the conference begins on time. Zoom’s
5    functionalities will allow the Court to conduct the ENE as it ordinarily would conduct an
6    in-person one. The Court will divide participants into separate, confidential sessions, which
7    Zoom calls Breakout Rooms.7 In a Breakout Room, the Court will be able to confidentially
8    and individually communicate with participants. Breakout Rooms will also allow parties
9    and counsel to communicate confidentially outside the presence of the Court.
10         Counsel are responsible for ensuring their clients are able to participate in the ENE.
11   All participants must display the same level of professionalism and attention during the
12   ENE as if they were attending in person (e.g., not be driving while speaking to the Court,
13   or otherwise distracted). Participants are encouraged to use laptops or desktop computers
14   for the video conference, if possible, as mobile devices often offer inferior performance.
15   Because Zoom may quickly deplete the battery of a participant’s device, each participant
16   should ensure that their device is plugged in or that a charging cable is readily available
17   during the video conference.
18         If the case does not settle during the ENE, the Court will hold the CMC with counsel
19   immediately following the ENE.
20         5.     Participant Information and Confidential ENE Statements Required: No
21   later than May 24, 2023, counsel for each party must send an e-mail to the Court at
22   efile_butcher@casd.uscourts.gov containing the following:
23
24
25   6
          Participants who do not have Zoom already installed on their device when they click
     on the Zoom meeting hyperlink will be prompted to download and install Zoom before
26
     proceeding.
27
     7
          For more information on what to expect when participating in a Zoom Breakout
28   Room, visit: https://support.zoom.us/hc/en-us/articles/115005769646
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1          a.    The name and title(s)/position(s) of each participant, including counsel, all
2                parties and party representatives, and claims adjusters;
3          b.    An e-mail address for each attorney participant to receive the Zoom video
4                conference invitation;
5          c.    A telephone number where each attorney participant may be reached so that,
6                if technical difficulties arise, the Court will be in a position to proceed
7                telephonically instead of by video conference; and
8          d.    A Confidential ENE Statement.8 Confidential ENE Statements must not
9                exceed seven (7) pages, excluding exhibits. If exhibits are attached, the parties
10               are encouraged to highlight the relevant portions. Confidential ENE
11               Statements must include:
12                  i.     A brief description of the case and the claims and defenses asserted;
13
                    ii.    The party’s position on liability and damages supported by relevant
14                         facts and controlling legal authority;
15
                    iii.   For plaintiff(s), a specific and current settlement demand
16                         addressing all relief sought, and the specific basis for that relief; and,
                           for defendant(s), a specific and current offer and the bases for that
17
                           offer (Note: a general statement that a party will “negotiate in
18                         good faith,” “offer a nominal cash sum,” or “be prepared to make
                           a demand or offer at the conference” is not a specific demand or
19
                           offer. If a specific demand or offer for settlement cannot be made
20                         at the ENE, state the reasons why and explain what additional
                           information is required to make a settlement demand or offer.);
21
22                  iv.    A brief description of any previous settlement negotiations or
                           mediation efforts; and
23
24                  v.     In appropriate cases, the parties are also encouraged to include as an
                           attachment to the ENE Statement a chronology, setting forth a
25
26
     8
27         The Court does not require ENE Statements to be served on other parties; however,
     the parties may elect to share their ENE Statements at their discretion. These statements
28   are not to be filed on the CM/ECF system.
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1                           timeline of the factual events that are the basis for the claims and
                            defenses asserted in this litigation. If submitted, the chronology
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                            should be in a chart or column format with the column headings
3                           “DATE” and “EVENT.” The chronology is not included in the page
                            limits applicable to ENE Statements and exhibits.
4
5          6.      Requests to Continue an ENE: Requests to continue the ENE are strongly
6    disfavored. A request for continuance may be initiated by counsel placing a joint call or
7    email to the Court’s chambers (efile_butcher@casd.uscourts.gov). Counsel must meet and
8    confer prior to making such a request.
9          Any request for a continuance must be made as soon as counsel is aware of the
10   circumstances that warrant rescheduling the conference. Requests to continue the ENE
11   based on a pre-existing scheduling conflict must be made within 10 days of the issuance of
12   this Order. When requesting a continuance of the ENE, counsel should keep in mind that
13   Civil Local Rule 16.1.c.1. requires the ENE take place within 45 days of the filing of the
14   first Answer.
15         7.      Settlement Prior to the ENE: The Court encourages the parties to work on
16   settling the matter in advance of the ENE. In the event that the parties resolve the matter
17   prior to the ENE, counsel must promptly file a Joint Motion for Dismissal or a Notice of
18   Settlement.
19         8.      Case Management Conference: If the case does not settle during the ENE
20   the Court will immediately proceed with the Case Management Conference (“CMC”). The
21   parties are, therefore, ordered to comply with Fed. R. Civ. P. 26 and proceed with the initial
22   disclosure process in advance of the CMC as follows:
23         a.      Initial disclosures, pursuant to Rule 26(a)(1)(A-D), must occur on or before
24                 May 24, 2023;
25         b.      Counsel must meet and confer pursuant to Fed. R. Civ. P. 26(f) no later than
26                 May 10, 2023; and
27         c.      A Joint Discovery Plan must be filed on the CM/ECF system no later than
28                 May 24, 2023. The Joint Discovery Plan must be one document and must

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1               explicitly address all topics identified in Fed. R. Civ. P. 26(f)(3). In addition,
2               the discovery plan must include:
3                  i.     Service: Whether any parties remain to be served and a proposed
                          deadline for service if any parties remain to be served;
4
5                 ii.     Amendment of Pleadings: The extent to which parties, claims, or
                          defenses are expected to be added or dismissed and a proposed
6
                          deadline for amending the pleadings;
7
                 iii.     Protective Order: Whether a protective order is contemplated to
8
                          cover the exchange of confidential information and, if so, the date
9                         by which the proposed order will be submitted to the Court;
10
                 iv.      Electronic Discovery: In addition to the requirements set forth in
11                        Fed. R. Civ. P. 26(f)(3)(C), the parties must represent they have
                          reviewed the Checklist for Rule 26(f) Meet and Confer Regarding
12
                          Electronically Stored Information (“ESI”)9 and describe their
13                        agreements regarding methodologies for locating and producing
                          electronically stored information and the production of metadata,
14
                          and must identify any issues or agreements regarding electronically
15                        stored information that may not be reasonably accessible (see Fed.
                          R. Civ. P. 26(b)(2)(B));
16
17                v.      Discovery: In addition to the Fed. R. Civ. P. 26(f)(3)(B)
                          requirements, the parties must describe the discovery taken to date
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                          (if any) and any identified discovery disputes;
19
                 vi.      Related Cases: Any related cases or proceedings pending before
20
                          another judge of this court, or before another court or administrative
21                        body;
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                vii.      Scheduling: Proposed dates for fact discovery cutoff, expert
23                        designations and disclosures, expert discovery cutoff, filing of
                          dispositive motions, filing class certification motion (if class is
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     9
27          The Checklist for Rule 26(f) Meet and Confer Regarding ESI can be found at
     https://www.casd.uscourts.gov/judges/butcher/docs/Electronically%20Stored%20Informa
28   tion%20Checklist.pdf
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1                           alleged), the Mandatory Settlement Conference (see CivLR 16.3),
                            pretrial conference, and trial;
2
3                viii.      Trial: Whether the case will be tried to a jury or to the Court, and
                            the expected length of the trial;
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5                  ix.      Professional Conduct: Confirmation that all attorneys who will be
                            listed in the pleadings or motions for any party have reviewed Local
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                            Rule 2.1 and agree to abide by the Court’s Code of Conduct; and
7
                   x.       Miscellaneous: Such other matters as may facilitate the just, speedy
8
                            and inexpensive disposition of the matter.
9
           9.      New Parties Must Be Notified by Plaintiff’s Counsel: Plaintiff’s counsel
10
     must give notice of the ENE and CMC and provide a copy of this Order to parties
11
     responding to the complaint after the date of this notice.
12
           Questions regarding this case or the mandatory guidelines set forth herein may be
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     directed to the Magistrate Judge’s law clerks at (619) 446-3704.
14
           A Notice of Right to Consent to Trial Before a United States Magistrate Judge is
15
     attached for your information.
16
           IT IS SO ORDERED.
17
     Dated: April 6, 2023
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1                    NOTICE OF RIGHT TO CONSENT TO TRIAL
2                 BEFORE A UNITED STATES MAGISTRATE JUDGE
3
4         IN ACCORDANCE WITH THE PROVISIONS OF 28 U.S.C. § 636(c), YOU ARE
5    HEREBY NOTIFIED THAT A U.S. MAGISTRATE JUDGE OF THIS DISTRICT MAY,
6    UPON THE CONSENT OF ALL PARTIES, ON FORM 1A AVAILABLE IN THE
7    CLERK’S OFFICE, CONDUCT ANY OR ALL PROCEEDINGS, INCLUDING A JURY
8    OR NON-JURY TRIAL, AND ORDER THE ENTRY OF A FINAL JUDGMENT.
9    COUNSEL FOR THE PLAINTIFF IS RESPONSIBLE FOR OBTAINING THE
10   CONSENT OF ALL PARTIES, SHOULD THEY DESIRE TO CONSENT.
11        YOU SHOULD BE AWARE THAT YOUR DECISION TO CONSENT OR NOT
12   TO CONSENT IS ENTIRELY VOLUNTARY. ONLY IF ALL PARTIES CONSENT
13   WILL THE JUDGE OR MAGISTRATE JUDGE TO WHOM THE CASE HAS BEEN
14   ASSIGNED BE INFORMED OF YOUR DECISION.
15        JUDGMENTS OF THE U.S. MAGISTRATE JUDGES ARE APPEALABLE TO
16   THE U.S. COURT OF APPEALS IN ACCORDANCE WITH THIS STATUTE AND
17   THE FEDERAL RULES OF APPELLATE PROCEDURE.
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